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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

ATLANTIC RECORDING                  )
CORPORATION, et al.,                )
                                    )
     Plaintiffs,                    )
                                    )                  Case No.:
v.                                  )
                                    )                  1:17-CV-0431-AT
SPINRILLA, LLC, et al.,             )
                                    )
     Defendants.                    )
____________________________________)

     MOTION TO STAY RULING ON PLAINTIFFS’ MOTION FOR LEAVE
        TO AMEND EXHIBIT A TO THE AMENDED COMPLAINT

        Defendants file this Motion to Stay and state as follows:

I.      Introduction

        Defendants respectfully move the Court to stay briefing and ruling on

Plaintiffs’ Motion for Leave to Amend Exhibit A to the Amended Complaint, which

Plaintiffs filed on April 11, 2018. (Dkts. 194-195).

II.     Procedural Background

        On October 3, 2017, Defendants filed a Motion for Sanctions requesting,

among other things, that Plaintiffs not be allowed to further add to the list of sound

recordings they claim Defendants’ infringed (Dkt. 98-1, p. 24). On March 10, 2018,

the Court stayed the deadlines for the Parties to file motions for summary judgment

until after the Court rules on Defendants’ Motion for Sanctions. (Order, dated March
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10, 2018 (Dkt. 186)). Defendants’ Motion for Sanctions remains pending. However,

Plaintiffs have now moved for leave to amend Exhibit A to their Amended

Complaint to further add to the list of sound recordings “in suit.” (Dkts. 194-195).

III.   Argument

       Defendants are under the impression the Court stayed the filing of summary

judgment motions because its forthcoming ruling on Defendants’ Motion for

Sanctions could impact the issue in the Parties’ summary judgment motions and

materially alter the issues in this litigation. If this is correct, the Court’s ruling on

Defendants’ Motion for Sanctions may also impact Plaintiffs’ Motion for Leave to

Amend Exhibit A to the Amended Complaint (Dkts. 194-195), particularly as part

of the relief requested by Defendants’ Motion for Sanctions was to prohibit Plaintiffs

from further amending Exhibit A to the Amended Complaint (Dkt. 98-1, p. 24) or to

dismiss the Amended Complaint (Dkt. 114, pp. 9-11). In other words, the Court’s

ruling on Defendants’ Motion for Sanctions, could also impact the need for and

scope of additional briefing in connection with Plaintiffs’ Motion for Leave to

Amend Exhibit A to the Amended Complaint and potentially eliminate the need for

briefing all together.

       Defendants requested Plaintiffs’ consent to this Motion to Stay, but Plaintiffs

have declined.




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V.    Conclusion

      For these reasons, Defendants request that any additional briefing in

connection with Plaintiffs’ Motion for Leave to Amend Exhibit A to the Amended

Complaint be stayed until after the Court rules on Defendants’ Motion for Sanctions.

The requested stay would specifically include suspending the deadline for

Defendants to respond to Plaintiffs’ Motion for Leave. (Dkts. 194-195).

      A proposed order is attached hereto as Exhibit A.

      Respectfully submitted this 12th day of April, 2018.

LILENFELD PC
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ATLANTIC RECORDING                  )
CORPORATION, et al.,                )
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     Plaintiffs,                    )
                                    )               Case No.:
v.                                  )
                                    )               1:17-CV-0431-AT
SPINRILLA, LLC, et al.,             )
                                    )
     Defendants.                    )
____________________________________)

                          CERTIFICATE OF SERVICE

        The foregoing MOTION TO STAY RULING ON PLAINTIFFS’ MOTION

FOR LEAVE TO AMEND EXHIBIT A TO THE AMENDED COMPLAINT was

filed   using    the   Court’s   CM/ECF       system,   which   automatically   and

contemporaneously sends electronic notification and a service copy of this filing to

counsel of record:

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April 12, 2018

/s/ David M. Lilenfeld
David M. Lilenfeld



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